                               Appendix A
          Disputes Related to Proposed Case Management Order
   I.   Government Productions

          Plaintiffs’ Proposal                    Defendants’ Proposal
  On or before March 15, 2024, Defendants [This section should be omitted from
  shall produce all documents and the Case Management Order.]
  correspondence that, as of February 29,
  2024, Defendants produced to the
  Department of Justice, the Federal Trade
  Commission, Congress, any State Attorney
  General, and/or any other state or federal
  regulatory agency in relation to any civil
  investigative demand or any formal or
  informal document discovery, any white
  papers, narrative responses, or any other
  manner of discovery provided to such
  regulators,   concerning     its  Revenue
  Management Solutions.


     PLAINTIFFS’ POSITION:

        Plaintiffs served their First and Second Set of Requests for Production of Documents and

 Information (“Requests”) on February 6, 2024, and while the Parties had already completed the

 Rule 26(f) conference at that time, Plaintiffs further offered that the requests would be deemed

 served on February 16, 2024, giving Defendants extra time to review and begin working on their

 responses. One of those requests asks for the category of documents sought in Plaintiffs’ proposed

 provision above. As a result, by March 15, Defendants will have had this request for nearly two

 months. To the extent that any Defendant has already collected, compiled, reviewed, and produced

 documents to any government regulator concerning RealPage’s RMS, those documents are

 unquestionably relevant and there is virtually no burden for that Defendant to reproduce such

 documents to Plaintiffs. Nor should there be any concerns about waiving privilege; the agreed-

 upon portions of the Parties’ Rule 502(d) Order provide Defendants with the right to claw back



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 any privileged documents inadvertently disclosed. Defendants argue that such a production should

 be made in the due course of document production pursuant to Plaintiffs’ discovery requests

 (which have already been sent to Defendants, and are deemed served on February 16, 2024).

 Having this interim deadline set for these already-compiled documents early in the discovery

 process will help to narrow discovery going forward and promote judicial economy, including by

 providing Plaintiffs with information about potential custodians and search terms to target

 document production and depositions in an effort to reduce the need for Court intervention to

 resolve additional discovery disputes.

    DEFENDANTS’ POSITION:

        Plaintiffs have requested that all Defendants produce by March 15, 2024, all documents

 and correspondence produced, as of February 29, 2024, to the Department of Justice, the Federal

 Trade Commission, Congress, any State Attorney General, and/or any other state or federal

 regulatory agency, or any document discovery, white papers, narratives, or any other discovery

 provided to regulators regarding RealPage Revenue Management Software. Defendants’ position

 is that Plaintiffs can and should make this request through the ordinary discovery process so that

 each Defendant can respond. Plaintiffs’ overbroad general request seeks a wide variety of material,

 some of which may be confidential or otherwise protected from discovery. Defendants are

 differently situated with respect to Plaintiff’s request. Some Defendants may have no responsive

 material, some Defendants may agree to produce the requested material, some Defendants may

 agree to produce certain material and not others, and some Defendants may object to the request.

 In light of this reality, Defendants view is that Plaintiffs should serve discovery requesting the

 information they want Defendants to produce and Defendants should respond to that request in the

 ordinary course, rather through an overbroad “omnibus” request outside of the discovery process.




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  II.   Supplemental Disclosures

           Plaintiffs’ Proposal                       Defendants’ Proposal
  On or before April 1, 2024, all parties [This section should be omitted from
  disclose     the      documents/information the Case Management Order.]
  requested in Attachment 1 to Plaintiffs’
  scheduling proposal.


     PLAINTIFFS’ POSITION:

        Plaintiffs have proposed a tailored set of additional disclosure requests (“Attachment 1

 Disclosures”) that, like their request for government productions, are designed to streamline

 discovery negotiations going forward. For example, Plaintiffs have requested that each Defendant

 identify key individuals at each property, such as the people responsible for pricing, gathering

 competitive intelligence, handling tenant complaints about pricing, and communicating with

 RealPage about pricing. This information will be crucial in negotiating custodians and will allow

 Plaintiffs to focus in on the key individuals with potentially relevant documents. To alleviate any

 burden, Plaintiffs’ Attachment 1 Disclosures allow Defendants to produce this information in any

 manner that is convenient for them (i.e. there is no requirement to search and produce

 organizational charts to respond to these disclosures.) The Attachment 1 Disclosures also request

 additional information about data sources above and beyond Fed. R. Civ. P. 26(a)(1)(A)(ii), which

 will again provide Plaintiffs with necessary information to quickly move through custodian and

 search negotiations and is frequently utilized in large, multi-party complex antitrust class actions

 such as this. See Ex. A1, Order on Discovery Pending Resolution of Motions to Dismiss and

 Attachment 1 (“Cattle Disclosures”), In re Cattle Antitrust Litig., Case No. 19-cv-01222 (D. Minn.

 2020) (ordering the parties to produce additional disclosures outlined in Attachment 1 without the

 need for a request pursuant to Rule 34); Ex. A2, ESI Order, In re Cattle/Beef Antitrust Litig., Case

 No. 20-cv-01319 (D. Minn. 2020) ECF 93, §V. B (adopting Cattle Disclosures); Ex. A3, Pretrial



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 Scheduling Order, In re Pork Antitrust Litig., Case No. 18-cv-01776, ECF 290 (D. Minn. 2019)

 (ordering additional disclosures of documents and information delineated therein, without the need

 for formal discovery request).

    DEFENDANTS’ POSITION:

        Plaintiffs also have requested extensive initial discovery, outside of the ordinary discovery

 process, as part of what Plaintiffs have called “Attachment 1 Disclosures.” Through these

 disclosures, Plaintiffs seek a wide variety of information and documents, including, among many

 other things, information and/or documents showing (i) everyone at Defendant with a title of

 director or higher and their assistants, (ii) the individuals responsible for “determining, setting,

 adopting, or implementing” the rental price or occupancy strategy for each unit that Defendants

 manage, (iii) all individuals who participate in any trade association, and (iv) many or all of

 Defendants’ individual lease agreements. As with their requests for information provided to

 government regulators, Plaintiffs’ “Attachment 1” requests are incredibly overbroad. Some of the

 requests in Attachment 1 are unclear, other requests seek information that is not relevant. Each

 Defendant is organized differently and operates differently, meaning that the burden and

 appropriateness of providing the information requested in Attachment 1 will vary from Defendant

 to Defendant. Plaintiffs should seek the information they have identified on Attachment 1 through

 the normal discovery process.

 III.   Written Discovery Limits

          Plaintiffs’ Proposal                       Defendants’ Proposal
  Interrogatories                            Interrogatories
     • Plaintiffs may jointly serve 30           • Plaintiffs may jointly serve 30
         interrogatories on each Defendant          interrogatories on each Defendant.
         (defined as each named Defendant in
         a Defendant family)                     • Defendants may jointly serve 30
                                                    interrogatories on each of the
     • Defendants may jointly serve 30              individual named Plaintiffs and each
         interrogatories on each of the


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             Plaintiffs’ Proposal                           Defendants’ Proposal
            individual named Plaintiffs, but no            Defendant is also entitled to serve up
            more than 60 unique interrogatories            to 10 individual interrogatories on
            across all named Plaintiffs.                   Plaintiffs.

  Requests for Admission                            Requests for Admission
     • Plaintiffs may jointly serve 50                 • Plaintiffs are allowed to serve 30 joint
        Requests for Admission on each                    requests per Defendant, and an
        Defendant.                                        additional 20 joint requests on each
                                                          Defendant.
       •    Defendants may jointly serve 30
            Requests for Admission on each             •   Defendants may jointly serve 30
            named Plaintiff, but no more than 60           Requests for Admission on each
            unique requests across all named               named Plaintiff, and each Defendant is
            Plaintiffs.                                    also entitled to serve up to 10
                                                           individual requests on plaintiffs.



 IV.       Completion of Document Production

          Plaintiffs’ Proposal                      Defendants’ Proposal
  Full completion of document production by Substantial completion of document
  March 28, 2025                            production by March 28, 2025


    PLAINTIFFS’ POSITION:

           In the interest of compromise, Plaintiffs have agreed to use Defendants’ proposed dates for

 completion of document production and completion of fact discovery, both of which were months

 later than the dates requested by Plaintiffs. By March 28, 2025, Defendants will have had

 Plaintiffs’ Requests for over a year. Indeed, Defendants were provided with a courtesy draft of

 many of Plaintiffs’ requests as far back as July 28, 2023, each request of which overlaps to a high

 degree with the Requests served on all Defendants February 6, 2024. Dkt. 437-1. It is reasonable

 to expect that Defendants can fully complete document production March 28, 2025. Plaintiffs are

 concerned that “substantial” completion leaves the door open to additional delay in the schedule,

 if any producing Party makes productions after March 28, 2025, as the Parties will only have seven




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 months to review all the documents and take all of the depositions in the case. Therefore, to ensure

 certainty and finality, Plaintiffs request a hard deadline for completion of document production.

    DEFENDANTS’ POSITION:

        The parties agree on a March 28, 2025 date for completion of document production.

 Plaintiffs want document production to be “fully” complete on that date, whereas Defendants want

 “substantial” completion. In Defendants’ view the “substantial” completion requirement will

 move the case forward in the same way as Plaintiffs’ requested deadline. However, requiring

 “substantial,” rather than “full” completion will avoid “gotcha” type disputes about whether a party

 is in violation of the CMO in the event that technical issues, normal discovery follow-up, or similar

 “ordinary course” issues result in the production of a small number of documents after the deadline.

 As a practical matter, Defendants think their approach will move the case forward as effectively

 as Plaintiffs but will avoid creating a deadline that could lead to collateral disputes and issues.

  V.    Class Certification, Experts, Summary Judgment, and Trial

           Plaintiffs’ Proposal                             Defendants’ Proposal
  A single round of expert reports for class and    Class certification briefing with related
  merits issues, with expert discovery on both      expert discovery beginning on August
  class and merits issues to begin after the        15, 2025, followed by Daubert briefing
  close of fact discovery, on February 19,          on class expert reports, through March
  2026, and close June 4, 2026                      23, 2026.

  Class certification briefing to follow expert Hearing on class certification and
  discovery, from July 20, 2026 through Daubert class reports in April 2026.
  October 7, 2026
                                                Expert merits reports from June 19,
  A single round of Daubert briefing, tracking 2026 through September 18, 2026.
  class certification, from July 20, 2026
  through November 6, 2026                      Daubert briefing for expert merits
                                                reports from October 23, 2026 through
  Hearing on class certification and Daubert January 22, 2027.
  motions in November 2026
                                                Hearing on Daubert merits reports to
  Summary judgment briefing to follow class be held at the convenience of the Court.
  certification, to begin March 1, 2027 and end
  June 14, 2027, with a hearing in July 2027    Summary judgment briefing from


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          Plaintiffs’ Proposal                      Defendants’ Proposal
                                            April 16, 2027 through June, 25, 2027
  For M.D. Tenn. cases, parties to be trial with a hearing to be held at the
  ready by October 1, 2027                  convenience of the Court.

                                                  For M.D. Tenn. cases, parties to be trial
                                                  ready no later than 75-100 days after
                                                  the Court’s ruling on the motions for
                                                  summary judgment.


    PLAINTIFFS’ POSITION:

        Plaintiffs have proposed a sensible, streamlined approach to expert discovery, class

 certification, and summary judgment, acknowledging that the standard for seeking certification of

 a class in an antitrust case nearly converges with an analysis of the merits of Plaintiffs’ claims.

 Once fact discovery is complete, Plaintiffs propose a single expert discovery period and exchange

 of expert reports for all issues, including both class certification and merits. This would be

 followed by a single round of briefing on class certification and all Daubert challenges—whether

 for class or merits issues. Upon receiving a ruling on class certification, the Parties could

 immediately move into summary judgment briefing, without undergoing another time-consuming,

 costly, and redundant round of expert discovery and Daubert briefing.

        In contrast, Defendants’ proposal contemplates essentially bifurcating discovery (given

 that class certification would begin before discovery was completed), two rounds of expert reports,

 two rounds of Daubert briefing, and up to four depositions per plaintiff expert, introducing

 multiple opportunities for delay as the Parties litigate the same issues twice. Such an approach is

 inconsistent with current class certification standards. At class certification, and as often recited

 by Defendants, the Supreme Court requires that Plaintiffs show that their case can be proved on a

 predominantly classwide basis. See, e.g., Tyson Foods, Inc. v. Bouaphakeo, 557 U.S. 442, 453

 (2016) (“When one or more of the central issues in the action are common to the class and can be



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 said to predominate, the action may be considered proper under Rule 23(b)(3).” (internal quotation

 marks omitted)); see also Comcast Corp. v. Behrend, 569 U.S. 27, 33-34 (2013) (class certification

 analysis in antitrust cases will “frequently entail overlap with the merits of the plaintiff’s

 underlying claim,” because the “class determination generally involves considerations that are

 enmeshed in the factual and legal issues comprising the plaintiff’s cause of action” (internal

 quotation marks and citations omitted)). For an antitrust plaintiff, the best way to demonstrate that

 their claims are capable of classwide proof (and thus should be certified) is to lay out the proof of

 each element of their claim. That is what Plaintiffs will do at the class certification stage here, in

 a single round of reports covering both class and merits issue.

        Recognizing this trend and acknowledging the inefficiencies of multiple rounds of

 overlapping expert reports, numerous courts have recently adopted a single round of expert reports,

 just as Plaintiffs have proposed here. See Exhibits A4-A16. 1 Indeed, as recently as February 6,




 1
   See, e.g., Ex. A4, Scheduling Order, Fusion Elite All Stars v. Varsity Brands, LLC, No. 20-cv-
 2600 (W.D. Tenn. Oct. 15, 2020), ECF No. 61; Ex. A5, Case Mgmt Order No. 1, Carbone v.
 Brown Univ., No. 22-cv-00125 (N.D. Ill. Sept. 8, 2022), ECF No. 195; Ex. A6, Order, Uriel
 Pharm. Health & Welfare Plan v. Advocate Aurora Health, Inc., No. 22-cv-610 (E.D. Wisc. Aug.
 16, 2023), ECF No. 41; Ex. A7, Prelim. Pretrial Conference Order, Team Schierl Cos. v. Aspirus,
 Inc., No. 22-cv-00580 (W.D. Wisc. Feb. 24, 2023), ECF No. 35; Ex. A8, Pretrial Order No. 5, In
 re: Google Digital Advertising Antitrust Litig., 21-md-3010 (S.D.N.Y. Nov. 21, 2022), ECF No.
 394; Ex. A9, Case Mgmt. Order, In re: Geisinger Health & Evangelical Community Hosp.
 Healthcare Workers Antitrust Litig., No. 4:21-cv-00196 (M.D. Pa. Feb. 7, 2022), ECF No. 80; Ex.
 A10, Stipulated Order Regarding Am. Case Schedule As Modified, Simon and Simon, PC. v. Align
 Tech., Inc., No. 3:20-cv-03754 (N.D. Cal. May 13, 2021), ECF No. 106; Ex. A11, Case Mgmt.
 Order No. 1, In Re: Broiler Chicken Grower Antitrust Litig., No. 6:17-cv-00033 (E.D. Okla. Apr.
 13, 2020), ECF No. 312; Ex. A12, Further Am. Scheduling Order, In re Lipitor Antitrust Litig.,
 No. 3:12-cv-02389 (D.N.J. Oct. 1, 2019), ECF No. 899; Ex. A13, Corrected Seventh Am.
 Scheduling Order, In re: Niaspan Antitrust Litig., No. 13-MD-2460 (E.D. Pa. Nov. 16, 2018), ECF
 No. 570; Ex. A14, Scheduling Order, In re Dental Supplies Antitrust Litig., No. 16-cv-696
 (E.D.N.Y. April 10, 2017), ECF No. 177; Ex. A15, Scheduling Order Regarding Discovery &
 Briefing on Mot. for Class Certif., In re: Domestic Airline Travel Antitrust Litig., MDL No. 2656,
 14-MC-01404 (D.D.C. Jan. 30, 2017), ECF No. 152; Ex. A16, Discovery Plan & Scheduling Order
 at 1, Le v. Zuffa, LLC, No. 2-15-cv-01045 (D. Nev. Oct. 14, 2016), ECF No. 311.


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 2024, in Dale et al. v. Deutsche Telekom AG, et al., Judge Durkin rejected a bifurcated expert

 discovery schedule proposed by Gibson Dunn, RealPage’s counsel in this litigation, and adopted

 a single round of expert reports, finding that the plaintiffs’ approach was more likely to move the

 case forward expeditiously and efficiently. Ex. A17, Status Conf. Tr., Case No. 1:22-cv-03189

 (N.D. Ill. Feb. 6, 2024). Similarly, in Sky Federal Credit Union v. Fair Isaac Corp., Judge Chang

 ordered a single round of expert reports, to be followed by class certification and then summary

 judgment. Ex. A18, Minute Order, No. 20-cv-2114 (N.D. Ill. Oct. 17, 2023). In doing so, he also

 rejected an effort by defendants to bifurcate discovery into class and merits issues, noting that

 “there will likely be substantial overlap between the issues underlying the propriety of certification

 and those underlying the merits of the current Plaintiffs’ claims.” Id.

        Defendants’ approach also prejudices Plaintiffs. Defendants propose that Plaintiffs file

 their opening class certification report with three months left in fact discovery. Plaintiffs would be

 at a disadvantage in their opening class certification brief and expert report as Plaintiffs have the

 burden to demonstrate liability on a classwide basis while denied the benefit of a full discovery

 record to do so. It is easy to see how Defendants could avoid scheduling key witnesses until later

 in the discovery period, at which point Plaintiffs’ experts would be forced to supplement the record

 upon reply. In contrast, Plaintiffs’ approach ensures that class certification can be briefed on a full

 record and allows both sides access to all relevant evidence in their briefing.

        Further, Defendants’ approach invites multiple rounds of reports and Daubert proceedings

 (and multiple rounds of decision by the Court), with no corresponding benefits, given the

 significant overlap between class and merits issues. During meet and confers, Defendants argued

 that they could not submit merits reports without seeing how Plaintiffs’ class was defined. But

 under Plaintiffs’ proposal, Defendants would submit their merits reports only after Plaintiffs




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  submitted their own class and merits reports (which would include the class definition), so that

  argument is a red herring. And even if the Court were to certify a smaller class, the only

  consequence would be an adjustment in classwide damages commensurate with that reduction in

  class membership. The specter of such a formulaic calculation (if required to be done) does not

  warrant an entire additional round of expert reports, depositions, and Daubert briefing.

      DEFENDANTS’ POSITION: 2

         This is the main area of disagreement between the parties. Defendants are not proposing a

  phasing or bifurcation of discovery and recognize that this Court’s decision on class certification

  likely will involve at least a preliminary scrutiny of the merits of Plaintiffs’ claims. But Defendants

  want this case to proceed in the most common way of (i) requiring Plaintiffs to file their class

  certification motion before the end of fact discovery, (ii) addressing any expert discovery and

  briefing related to class certification in connection with the class certification briefing, (iii)

  allowing separate “merits” related expert discovery following class certification, and (iv)

  scheduling summary judgment briefing to follow expert discovery. Plaintiffs, by contrast, seek to

  combine merits and class expert discovery and, as a result, to delay the filing of their class

  certification briefing until after the end of fact discovery, immediately preceding summary

  judgment briefing.

         Defendants approach makes sense for this case for three reasons.

         First, Defendants believe they have very strong arguments against class certification in this

  case. Plaintiffs profess to have a simple theory for certification, namely that use of RealPage’s

  revenue management products constitutes an agreement to fix prices. Given Defendants’ strong

  arguments against class certification, and Plaintiffs’ claim that their class theory is straightforward,


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    Defendants continue to reserve their right to move to strike certain named Plaintiffs’ jury
  demands.


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  there is no reason Plaintiffs should need to wait two and a half years – until July 2026 – to file

  their motion for class certification. Defendants would like to get the class certification issue

  briefed sooner and decided more quickly, while still affording Plaintiffs a reasonable opportunity

  for discovery. Plaintiffs’ contend they will be prejudiced by being required to file their class

  certification motion approximately 18 months from now, but do not specify any particular

  prejudice or even explain how this purported prejudice is consistent with the allegations Plaintiffs

  alleged in their operative pleading and or their arguments in opposition to Defendants’ motion to

  dismiss.

         Second, the class and merits discovery issues in this case are not identical. While there

  will be some overlap with between class and merits discovery, including expert discovery,

  Defendants expect their certain merits expert evidence and issues will be broader than the issues

  relevant to class certification and will address issues relevant to summary judgment. To cite just

  one example of such evidence, as Defendants stated in their meet and confer with Plaintiffs (but

  differently than Plaintiffs describe the issue in their discussion), Defendants might well want to

  present additional expert testimony related to liability and damages in a particular alleged sub-

  market if the Court were to certify a sub-class for that market. Contrary to Plaintiffs’ suggestions

  about efficiency, it would be terribly inefficient, costly, and burdensome for the parties and the

  Court to require Defendants to present during the class certification phase all of the expert

  testimony and underlying evidence that they need in order to oppose liability and damages in each

  of Plaintiffs’ myriad alleged sub-markets during the class certification briefing.       Plaintiffs’

  concerns about duplication and inefficiency can be managed through discussions and agreements

  between the parties and do not provide a compelling justification for refusing to allow any post-

  class certification expert discovery.




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         Third, Defendants expect to have strong arguments for summary judgment in this case and

  Defendants’ proposal will allow Daubert briefing on merits experts issues close in time to the

  summary judgment briefing, rather than nearly a year earlier, as Plaintiffs propose. Defendants

  believe that this proximity will allow the Court to make a better decision about what expert

  evidence satisfies the Daubert standard and should be considered for purposes of deciding the

  summary judgment motions.




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